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 5 Attorney for MICHAELANGELO SANCHEZ

 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 9 THE UNITED STATES OF AMERICA,          )               No. 18-104 KJM
                   Plaintiff,             )
10
                                          )               STIPULATION AND [PROPOSED]
11         v.                             )               ORDER REGARDING
                                          )               TEMPORARY APPROVAL
12   MICHAELANGELO SANCHEZ,               )               FOR TRAVEL
                                          )
13                                        )
14                     Defendant.         )               Judge: Hon. Deborah Barnes
     _____________________________________)
15

16          Defendant Michaelangelo Sanchez, by and through his undersigned attorney of record, and
17 the United States of America, by and through undersigned Assistant U.S. Attorney Amanda Beck,

18 hereby stipulate as follows:

19          1.      Michaelangelo Sanchez is presently on supervised release.
20          2.      His conditions of supervised release include special conditions of home detention –
21 condition 14. (Dkt. No. 14.)

22          3.      Mr. Sanchez seeks permission to be away from his home on March 23, 2019, from
23 9:00am to 7:00pm, to be with his family and his grandmother who is coming in from out-of-town.

24          4.      Mr. Sanchez seeks permission to be away from his home on Easter (April 21, 2019),
25 from 9:00am to 7:00pm, to be with his family.
26          5.      Mr. Sanchez seeks permission to be away from his home on Mother’s Day (May 12,
27

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                                                      1
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 1 2019), from 9:00am to 7:00pm, to be with his family.

 2          6.      The government does not oppose these three temporary modifications of release

 3 conditions.

 4          7.      Defense counsel has spoken to Mr. Sanchez’s Pretrial Services Officer, Darryl

 5 Walker. Mr. Walker informed defense counsel that Mr. Sanchez has complied with all of his

 6 special and standard conditions for the past number of months and he does not oppose this

 7 temporary modification of Mr. Sanchez’s pre-trial release conditions.

 8          8.      The undersigned parties hereby stipulate that the Court may temporarily modify

 9 condition of release number 14. Mr. Sanchez is allowed to be away from his own home as

10 specified above in paragraphs 3, 4 and 5.

11
     Dated: March 21, 2019                                Respectfully submitted,
12
                                                          /s/ Michael D. Long
13
                                                          MICHAEL D. LONG
14                                                        Attorney for Michaelangelo Sanchez

15

16
     Dated: March 21, 2019                                McGREGOR SCOTT
17                                                        United States Attorney
18                                                        /s/ Amanda Beck
19                                                        AMANDA BECK
                                                          Assistant U.S. Attorney
20

21                                       [PROPOSED] ORDER

22          Good cause appearing and having been shown, the Court hereby adopts the parties’

23 stipulation as its order.

24          SO ORDERED.

25
     Dated: March 22, 2019
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